      Case 1:25-cv-10676-BEM           Document 123        Filed 05/22/25     Page 1 of 3




               DECLARATION OF O                 C                G

I, O   C         G           , make the following declaration based on my personal
knowledge and declare under the penalty of perjury that the following is true and correct:

   1. My name is O       C         G           . I am over the age of 18 and am
      competent to testify regarding the matters described below.

   2. Right now I am living in               Guatemala. Since I arrived here, I have
      been living in hiding, in constant panic and constant fear. I’ve been here living
      this way for over two months.

   3. I am living alone in a house my sister owns. I don’t stay in any of the places I
      used to stay because the story is the same as ever here: gay people like me are
      targeted simply for who we are. This produces constant fear and panic. My
      mother and cousins and other relatives have been helping me out so that I don’t
      have to go outside very much, because this situation is so dangerous for me.

   4. I feel fear and the danger any time I go out. For me, it’s not easy. The people who
      targeted me before know who I am and they have shown me twice before what
      they’re capable of. I don’t want to get attacked a third time. The first days when I
      got back, I had to go out and get groceries because I had nothing. And just then,
      one of those who had threatened me before passed on a motorcycle. I was out
      with a hat on and I do not think they spotted me, but I saw them. They are out
      here, and I don’t feel safe. In any moment, I could go out and they could be
      walking there and they would recognize me. I have so much panic because of
      this.

   5. When I leave, I wear hats and try to camouflage myself so that no one recognizes
      me and sees that I have returned. But living a normal life is impossible here, and
      I live in fear because of the past hateful incidences I experienced.

   6. I can’t be gay here, which means I cannot be myself. I cannot express myself and
      I am not free. I feel so vulnerable for many reasons – I can’t be a person who can
      walk in the streets, who gets a coffee, or who buys groceries because someone
      might hit me or threaten me. Anything could happen to me in the street. My
      family is always warning me to be careful, be careful. The situation here has been
      so difficult for me here. Since I’ve been back, I’ve had to be more private. I can’t
      be the same me as I was before, because I am constantly afraid. I am the smallest
      version of myself because I have so much more fear.

   7. My experiences the last times that I was targeted and threatened demonstrate that
      the police here don’t do anything. They do not support our community—that is,
      people who are not heterosexual and who are gay like me. There is so much
      discrimination: the police whisper and joke behind our backs. They do not ever
      support us the way we need. I don’t want to be another number, another statistic,
Case 1:25-cv-10676-BEM   Document 123   Filed 05/22/25   Page 2 of 3
      Case 1:25-cv-10676-BEM           Document 123        Filed 05/22/25      Page 3 of 3




                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     s/ Aaron Korthuis
                                                     Aaron Korthuis
                                                     Northwest Immigrant Rights Project
                                                     615 2nd Ave, Ste 400
                                                     Seattle, WA 98104
                                                     aaron@nwirp.org
